      Case 3:20-cv-01151-M Document 6 Filed 05/09/20                         Page 1 of 2 PageID 144



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 JANE DOE,                                                   §
                                                             §
          Plaintiff,                                         §
                                                             §
 v.                                                          §
                                                                  C.A. No. 3:20-CV-01151-M
                                                             §
 HILLSTONE RESTAURANT GROUP,                                 §
 INC. D/B/A R+D KITCHEN,                                     §
                                                             §
          Defendant.                                         §

      AMENDED CERTIFICATE OF CONFERENCE TO REMAND AND BRIEF IN SUPPORT

         Defendant has received written confirmation from opposing counsel that they do

not oppose this motion.

                                                          Respectfully submitted,

                                                                               ____________________
                                                          R. ROGGE DUNN
                                                          Texas Bar No. 06249500

                                                          E-mail: Dunn@trialtested.com

                                                          GREGORY M. CLIFT
                                                          State Bar No. 00795835
                                                          E-mail: clift@roggedunngroup.com

                                                          ROGGE DUNN GROUP, PC
                                                          500 N. Akard Street, Suite 1900
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 888-5000
                                                          Facsimile: (214) 220-3833

                                                          ATTORNEYS FOR DEFENDANT




DEFENDANT’S AMENDED CERTIFICATE OF CONFERENCE TO MOTION TO REMAND AND
BRIEF IN SUPPORT                                               PAGE 1
R:\3\3569\001\SubPldgs\Amd CoC to Motion to Remand.docx
    Case 3:20-cv-01151-M Document 6 Filed 05/09/20                       Page 2 of 2 PageID 145




                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing
instrument has been served on all counsel of record listed below via the Court’s e-filing
system on May 9, 2020:

            Charla G. Aldous                                   VIA ECF
            caldous@aldouslaw.com
            Brent R. Walker
            bwalker@aldouslaw.com
            Aldous\Walker, LLP
            4311 Oak Lawn Ave., Suite 150
            Dallas, TX 75219

            Chelsea Priest                                     VIA EMAIL:
            Law Clerk to Honorable Chief Judge                 Chelsea_Priest@txnd.uscourts.gov
            Barbara M.G. Lynn
            United States District Court for the
            Northern District of Texas


                                                          Rogge Dunn




DEFENDANT’S AMENDED CERTIFICATE OF CONFERENCE TO MOTION TO REMAND AND
BRIEF IN SUPPORT                                               PAGE 2
R:\3\3569\001\SubPldgs\Amd CoC to Motion to Remand.docx
